     Case 3:06-cv-00089-MCR-EMT Document 79 Filed 05/30/07 Page 1 of 9



                                                                                  Page 1 of 9


            IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


THOMAS STALLWORTH and
WILLIE MAE STALLWORTH,

              Plaintiffs,

v.                                                  CASE NO. 3:06cv89/MCR/EMT

HARTFORD INSURANCE COMPANY,

            Defendant.
______________________________________/

                            REFERRAL TO MEDIATION
                      AND ORDER FOR PRETRIAL CONFERENCE

      This matter is before the Court upon referral from the clerk. A review of the
docket indicates the deadlines for completion of discovery and filing dispositive
motions have passed. No dispositive motions having been filed, it appears appropriate
at this time to direct the parties to mediate this case and to schedule this matter for
pretrial conference. Accordingly,
      IT IS ORDERED:
      1.      The parties shall mediate this case in accordance with the following
procedures:
      (a)     The parties are directed to select a mediator certified by the Supreme
Court of Florida as a Circuit Court Mediator or a person otherwise mutually agreeable
to the parties. If the parties are unable to agree upon a mediator by June 18, 2007,
the plaintiff shall immediately file a notice so indicating, and I will appoint a mediator.
       Case 3:06-cv-00089-MCR-EMT Document 79 Filed 05/30/07 Page 2 of 9



                                                                                      Page 2 of 9


        (b)     Unless otherwise agreed, the fee of the mediator shall be paid equally by
the parties. The fee shall be paid in the manner required by the mediator.
        (c)     The first mediation conference shall commence by not later than July 20,
2007 (but may commence at any earlier time). The mediator shall set the initial
mediation conference with due regard to schedules and other commitments of the
parties and counsel and may continue or adjourn the mediation conferences in his or
her discretion within the time constraints set out in this order.
        (d)     The following persons MUST attend the mediation conference:
                (1)         Counsel of record primarily responsible for the conduct of this
matter on behalf of each party.
                (2)         All parties. In the case of a corporation, governmental entity, or
other organization, or officer in his or her official capacity, the party must attend
through a representative having full authority to settle the entire case for the party
without further consultation. In his or her discretion, however, the mediator may
waive the requirement that the attending representative’s full authority to settle be
“without further consultation.” Unless the mediator directs otherwise, the parties by
agreement also may waive the requirement that the attending representative’s full
authority to settle be “without further consultation.”
                (3)    If a party is insured, a representative of the insurer having full
authority to settle without further consultation. In his or her discretion, however, the
mediator may waive the requirement that the insurer’s representative’s full authority
to settle be “without further consultation.” Unless the mediator directs otherwise, the
parties by agreement also may waive the requirement that the attending insurer’s
representative’s full authority to settle be “without further consultation.”
        (e)     Failure of any person to attend the mediation conference as required shall
result in the imposition of sanctions.


Case No: 3:06cv89/MCR/EMT
       Case 3:06-cv-00089-MCR-EMT Document 79 Filed 05/30/07 Page 3 of 9



                                                                                  Page 3 of 9


        (f)     The parties shall confer in advance on the submission of written materials
to the mediator and shall proceed in accordance with any agreement they reach or the
instructions of the mediator. In the absence of agreement of the parties or instructions
from the mediator, no written submissions to the mediator are required, but either
party may submit materials as it deems appropriate, which the mediator may consider
as he or she deems appropriate.
        (g)     The mediator shall have authority to control the procedures to be followed
in mediation, may adjourn the mediation conference and set times for reconvening, and
may suspend or terminate mediation whenever, in the opinion of the mediator, the
matter is not appropriate for further mediation.
        (h)     All discussions, representations, and statements made at the mediation
conference shall be off the record and privileged as settlement negotiations. Mediation
proceedings shall not be recorded by a court reporter or by an electronic recording
device, except as necessary to memorialize any settlement that may be reached.
        (i)     This referral to mediation does not automatically toll the time for
completion of any other matter in this case.
        (j)     The parties are encouraged to settle as many issues during mediation as
possible. Partial or complete settlements shall immediately be reduced to writing in
the presence of the mediator and shall be signed by all parties and their counsel.
        (k)     Mediation in this case must be completed on or before August 3, 2007.
The mediator or parties shall file a report within 14 days thereafter indicating when
mediation was conducted and the outcome of the mediation (that is, whether the
matter was settled or impasse was declared). If the matter is settled in full, notice to
the court shall be immediate.
        (l)     Counsel for each party shall, within 10 days of the date of this order,
consult with his or her client about the advantages (including savings of costs and


Case No: 3:06cv89/MCR/EMT
       Case 3:06-cv-00089-MCR-EMT Document 79 Filed 05/30/07 Page 4 of 9



                                                                                         Page 4 of 9


attorney’s fees) and disadvantages of proceeding with mediation immediately rather
than awaiting the deadlines set in this order. On motion of any party, the court will
consider ordering that mediation commence immediately or at a time earlier than
otherwise required by this order. With or without such an order, the parties by
agreement may commence mediation at any time before the deadlines set in this order.
        2.      This case is set for pretrial conference Monday, August 27, 2007, at
9:00 AM. The following pretrial schedule and procedure is established:
        (a)     DATES FOR COMPLIANCE WITH PRETRIAL PROCEDURES
                (1)         The attorney’s conference required by Paragraph 2(b) shall be held
no later than August 10, 2007.
                (2)         The pretrial stipulation and other papers required by Paragraphs 2(c)
and 2(d) shall be filed with the Clerk of the Court on or before August 22, 2007.
                (3)         This case will be tried on a date set at the pretrial conference.
        (b)     ATTORNEYS TO CONFER
        Counsel for all parties shall meet together on or before the date specified in
Paragraph 2(a)(1) for the following purposes:
                (1)         To discuss the possibility of settlement or mediation;
                (2)         To stipulate to as many facts and issues as possible;
                (3)         To draw up the pretrial stipulation in accordance with Paragraph
2(c) of this order;
                (4)         To examine all exhibits proposed to be used in the trial;
                (5)         To furnish opposing counsel the names and addresses of all
witnesses, including possible rebuttal witnesses and experts;
                (6)         To discuss the question of damages, including matters of evidence
and proof which either party proposes to present at trial and the law in regard thereto;
and


Case No: 3:06cv89/MCR/EMT
       Case 3:06-cv-00089-MCR-EMT Document 79 Filed 05/30/07 Page 5 of 9



                                                                                           Page 5 of 9


                (7)         To complete all other matters which may expedite both the pretrial
and the trial of this case.
        Counsel for plaintiff shall initiate arrangements for the attorneys’ conference.
However, all attorneys in this cause are charged with the duty of meeting in such
conferences and of complying with the schedule set forth in this order. If the schedule
is not kept by any counsel, it is the duty of other counsel to insist upon the necessary
meeting or meetings to effect the pretrial stipulation, and failing to succeed to advise
the court by motion seeking sanctions against any party failing or refusing to meet as
directed after request.
        (c)     PRETRIAL STIPULATION
        The pretrial stipulation shall contain:
                (1)         The basis of federal jurisdiction;
                (2)         A concise statement of the nature of the action;
                (3)         A brief general statement of each party’s case;
                (4)         A list of all exhibits to be offered at the trial, noting any objections
thereto and the grounds for each objection. Any objections not listed will be deemed
waived.
                (5)         A list of the names and addresses of all witnesses, including
rebuttal and expert, intended to be called at the trial by each party. Expert witnesses
shall be labeled as such;
                (6)         A concise statement of those facts which are admitted and will
require no proof at trial, together with any reservations directed to such admissions;
                (7)         A concise statement of those issues of law upon which there is
agreement;
                (8)         A concise statement of those issues of fact which remain to be
litigated;


Case No: 3:06cv89/MCR/EMT
       Case 3:06-cv-00089-MCR-EMT Document 79 Filed 05/30/07 Page 6 of 9



                                                                                         Page 6 of 9


                 (9)        A concise statement of those issues of law which remain for
determination by the court;
                 (10)       A concise statement of any disagreement as to the application of
rules of evidence or of the Federal Rules of Civil Procedure;
                 (11)       A list of all motions or other matters which require action by the
court;
                 (12)       A statement whether this is now a jury or a non-jury case;
                 (13)       Counsel’s respective estimates of the length of the trial; and
                 (14)       The signature of counsel for all parties.
         (d)     PAPERS TO BE SUBMITTED
         No later than the date specified in Paragraph 2(a)(2), the parties shall file with
the Clerk of the Court:
                 (1)        The pretrial stipulation prepared in accordance with Paragraph 2(c)
of this order.
                 (2)        Each side shall submit to the Clerk of the Court for filing, with copy
to opposing counsel, a trial brief or memorandum with citation of authorities and
arguments in support of that side’s position on all disputed issues of law.
                 (3)        Counsel for each party in any jury trial shall submit to the Clerk of
the Court for filing, with copies to opposing counsel, written request for instructions
to the jury, together with proposed forms of verdict.                Upon good cause shown,
supplemental requests for instructions may be submitted at any time prior to the
arguments to the jury. All requests for instructions shall be plainly marked with the
name and number of the case, shall contain citations of supporting authorities, shall
designate the party submitting the same, and in the case of multiple requests by a
party shall be numbered in sequence. Requests for instructions taken verbatim from
the Pattern Jury Instructions - Civil Cases issued by the U.S. Eleventh Circuit District


Case No: 3:06cv89/MCR/EMT
       Case 3:06-cv-00089-MCR-EMT Document 79 Filed 05/30/07 Page 7 of 9



                                                                                       Page 7 of 9


Judges Association or from the Florida Standard Jury Instructions in Civil Cases may
be made by reference; the requested instructions need not be set forth in full.
                (4)         Counsel for each party in any non-jury case shall submit to the
clerk of the court for filing, with copies to opposing counsel, proposed written findings
of fact and conclusions of law, or, in lieu thereof, a proposed opinion or memorandum
of decision in which such proposed findings of fact and conclusions of law appear,
with complete citation of authorities where appropriate (See Rule 52, FRCP).
                (5)         Counsel for each party in any case shall arrange with the clerk for
marking for identification, as nearly as possible in the sequence proposed to be
offered, all exhibits intended to be offered by such party.
        (e)     CONDUCT OF THE PRETRIAL CONFERENCE
                (1)         Counsel who will conduct the trial are required to be present for
the pretrial conference.          They will be prepared to act with final authority in the
resolution of all matters.           Counsel will be prepared to discuss the prospects of
settlement and mediation.
                (2)         The court will ordinarily dispose of all motions and other matters
then at issue. The court will review all matters contained in the pretrial stipulation and
consider any other matters which may be presented with a view towards simplifying
the issues and bringing about a just, speedy and inexpensive determination of the
case. Any motion in limine or other pretrial motion shall be served sufficiently in
advance of the pretrial conference to allow consideration of the motion at or prior to
the pretrial conference.
        (f)     PRETRIAL ORDER
                (1)         Unless the court orders otherwise at the pretrial conference,
counsel for all parties, with counsel for plaintiff taking the initiative, shall submit a
proposed pretrial order for the court’s approval within ten (10) days after the pretrial


Case No: 3:06cv89/MCR/EMT
       Case 3:06-cv-00089-MCR-EMT Document 79 Filed 05/30/07 Page 8 of 9



                                                                                        Page 8 of 9


conference. The pretrial order so prepared shall incorporate and modify the pretrial
stipulation in light of any additional agreements reached and rulings made at the
pretrial conference.
                (2)         After the pretrial order is entered by the court, the pleadings will
be merged therein and the pretrial order will control the conduct of the trial and may
not be amended except by order of the court in the furtherance of justice.
        (g)     NEWLY DISCOVERED EVIDENCE OR WITNESSES
        Except as provided in this paragraph, witnesses not timely listed in the pretrial
stipulation will not be allowed to testify, and exhibits not timely listed in the pretrial
stipulation will not be admitted into evidence. If any new witness is discovered after
submission of the pretrial stipulation, the party desiring to call the witness shall
immediately file with the clerk and serve on all counsel notice of the witness’s name
and address and the substance of the witness’s proposed testimony, together with the
reason for the late discovery. If any new exhibit is discovered after submission of the
pretrial stipulation, the party desiring to use it shall immediately disclose the exhibit to
the court and all other counsel together with the reason for late discovery. Use of
such newly-discovered witnesses or evidence shall be allowed only by order of the
court in the furtherance of justice.
        (h)     ADDITIONAL PRETRIAL CONFERENCE
        If necessary or advisable, the court may adjourn the pretrial conference from
time to time or may order additional pretrial conferences.
        (i)     SPECIAL MATTERS
                (1)         No motion for summary judgment or other motion filed after the
date of this order will be grounds for cancellation or postponement of the pretrial
conference or non-compliance with any other requirement of this order. The parties will
be expected to comply with this order as fully and to the same extent as though no


Case No: 3:06cv89/MCR/EMT
       Case 3:06-cv-00089-MCR-EMT Document 79 Filed 05/30/07 Page 9 of 9



                                                                                         Page 9 of 9


such motion had been filed. Absent prior court approval, a motion for summary
judgment not served in time to permit the party opposing the same to make its written
response prior to the pretrial conference will not be heard or considered during that
pretrial conference. Parties will submit memoranda regarding any such motion to the
court in accordance with N.D. Fla. Loc. R. 7.1.
                (2)         If the case is settled, it is the responsibility of the parties to see
that the court is immediately advised.
                (3)         Should a party or a party’s attorney fail to appear at a pretrial
conference or otherwise fail to comply with this order, a judgment of dismissal or
default or other appropriate judgment may be entered, and sanctions or other
appropriate relief may be imposed.
                (4)         Counsel, as used herein, includes any party who is appearing pro
se.
        SO ORDERED this 30th day of May, 2007.


                                                 s/  M. Casey Rodgers
                                                M. CASEY RODGERS
                                                UNITED STATES DISTRICT JUDGE




Case No: 3:06cv89/MCR/EMT
